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4
                                      UNITED STATES DISTRICT COURT
5                                         DISTRICT OF NEVADA

6       AMA MULTIMEDIA, LLC, a Nevada                    Case No.: 2:15-cv-01673-JCM-GWF
7       limited liability company,
                                                         DECLARATION OF TREY A. ROTHELL
8                     Plaintiff,
9
        v.
10
        BORJAN SOLUTIONS, S.L. d/b/a
11      SERVIPORNO, a Spanish company;
        and BORJAN MERA URRESTARAZU,
12
        an individual,
13
                      Defendants.
14
15
       I, Trey A. Rothell, declare:
16
        1.   I am over 18 years of age and have never been convicted of a crime
17
             involving fraud or dishonesty. I am employed as a paralegal for Randazza
18
             Legal Group, PLLC. I have first hand knowledge of the facts set forth
19
             herein, and if called as a witness, could and would testify competently
20
             thereto.
21
        2.   On February 2, 2016 at approximately 3:58 PM Pacific Time, at the offices
22
             of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
23
             89147,     I   navigated      to    the    Uniform     Resource   Locator   (“URL”)
24
             <http://www.adrservices.org/pdf/ADR%20ARBITRATION%20RULES%20(5)%2
25
             0update%207-14-10.pdf> on the Internet using the web browser Google
26
             Chrome on an Apple MacBook Air laptop running OS X El Capitan
27
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1            operating system.        At that URL, I observed a PDF document entitled
2            “Arbitration Rules.” Immediately upon observing the PDF file at that URL, I
3            saved a copy of the document to the hard drive of my computer and to
4            Randazza Legal Group’s server. A true and correct copy of the PDF file
5            that I observed at that URL is attached as Exhibit 1 to the Reply In Support
6            of Motion to Compel Arbitration filed herewith.
7       3.   On February 2, 2016 at approximately 4:03 PM Pacific Time, at the offices
8            of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
9            89147,       I   navigated      to    the    Uniform     Resource    Locator   (“URL”)
10           <http://bongiovi.com/practice-areasfees/> on the Internet using the web
11           browser Google Chrome on an Apple MacBook Air laptop running OS X El
12           Capitan operating system. At that URL, I observed a webpage entitled
13           “Practice Areas/Fees.” Immediately upon observing the webpage at that
14           URL, I saved a PDF image of the webpage to the hard drive of my
15           computer and to Randazza Legal Group’s server.                  A true and correct
16           copy of the PDF file that I observed at that URL is attached as Exhibit 2 to
17           the Reply In Support of Motion to Compel Arbitration filed herewith.
18      4.   On February 2, 2016 at approximately 4:04 PM Pacific Time, at the offices
19           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
20           89147    I       navigated     to    the     Uniform     Resource    Locator   (“URL”)
21           <http://www.nadn.org/PDF/Ara-Shirinian.pdf> on the Internet using the
22           web browser Google Chrome on an Apple MacBook Air laptop running
23           OS X El Capitan operating system.                   At that URL, I observed a PDF
24           document entitled “Ara Shirinian Mediation.”                        Immediately upon
25           observing the PDF file at that URL, I saved a copy of the document to the
26           hard drive of my computer and to Randazza Legal Group’s server. A true
27           and correct copy of the PDF file that I observed at that URL is attached as
                                                      -2-
                                          Declaration of Trey A. Rothell
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1            Exhibit 3 to the Reply In Support of Motion to Compel Arbitration filed
2            herewith.
3       5.   On February 2, 2016 at approximately 4:05 PM Pacific Time, at the offices
4            of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
5            89147,   I   navigated   to    the    Uniform     Resource    Locator   (“URL”)
6            <http://www.nadn.org/PDF/Joe-Bongiovi.pdf> on the Internet using the
7            web browser Google Chrome on an Apple MacBook Air laptop running
8            OS X El Capitan operating system.            At that URL, I observed a PDF
9            document entitled “Bongiovi Dispute Resolutions.”            Immediately upon
10           observing the PDF file at that URL, I saved a copy of the document to the
11           hard drive of my computer and to Randazza Legal Group’s server. A true
12           and correct copy of the PDF file that I observed at that URL is attached as
13           Exhibit 4 to the Reply In Support of Motion to Compel Arbitration filed
14           herewith.
15      6.   On February 2, 2016 at approximately 4:05 PM Pacific Time, at the offices
16           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
17           89147,   I   navigated   to    the    Uniform     Resource    Locator   (“URL”)
18           <http://www.adrservices.org/pdf/JAMP%20(Vegas)%208.07.pdf> on the
19           Internet using the web browser Google Chrome on an Apple MacBook Air
20           laptop running OS X El Capitan operating system. At that URL, I observed
21           a PDF document entitled “ADR Services, Inc. Nevada Mediation &
22           Arbitration Panel.” Immediately upon observing the PDF file at that URL, I
23           saved a copy of the document to the hard drive of my computer and to
24           Randazza Legal Group’s server. A true and correct copy of the PDF file
25           that I observed at that URL is attached as Exhibit 5 to the Reply In Support
26           of Motion to Compel Arbitration filed herewith.
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                                   Declaration of Trey A. Rothell
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1       7.   On February 2, 2016 at approximately 4:06 PM Pacific Time, at the offices
2            of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
3            89147,   I   navigated   to    the    Uniform     Resource      Locator   (“URL”)
4            <http://www.adrservices.org/pdf/Romero,%20Enrique.pdf> on the Internet
5            using the web browser Google Chrome on an Apple MacBook Air laptop
6            running OS X El Capitan operating system. At that URL, I observed a PDF
7            document entitled “Hon. Enrique Romero.” Immediately upon observing
8            the PDF file at that URL, I saved a copy of the document to the hard drive
9            of my computer and to Randazza Legal Group’s server.                 A true and
10           correct copy of the PDF file that I observed at that URL is attached as
11           Exhibit 6 to the Reply In Support of Motion to Compel Arbitration filed
12           herewith.
13      8.   On February 2, 2016 at approximately 4:07 PM Pacific Time, at the offices
14           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
15           89147,   I   navigated   to    the    Uniform     Resource      Locator   (“URL”)
16           <http://www.ifta-online.org/ifta-panel-arbitrators> on the Internet using
17           the web browser Google Chrome on an Apple MacBook Air laptop
18           running OS X El Capitan operating system.              At that URL, I observed a
19           webpage entitled “IFTA Panel of Arbitrators.”                Immediately upon
20           observing the webpage at that URL, I saved a PDF image of the
21           webpage to the hard drive of my computer and to Randazza Legal
22           Group’s server. A true and correct copy of the webpage that I observed
23           at that URL is attached as Exhibit 7 to the Reply In Support of Motion to
24           Compel Arbitration filed herewith.
25      9.   On February 2, 2016 at approximately 4:07 PM Pacific Time, at the offices
26           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
27           89147,   I   navigated   to    the    Uniform     Resource      Locator   (“URL”)
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                                   Declaration of Trey A. Rothell
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1            <http://www.ifta-online.org/sites/default/files/Levy_0.pdf> on the Internet
2            using the web browser Google Chrome on an Apple MacBook Air laptop
3            running OS X El Capitan operating system. At that URL, I observed a PDF
4            document entitled “Anat Levy, Esq.”         Immediately upon observing the
5            PDF file at that URL, I saved a copy of the document to the hard drive of
6            my computer and to Randazza Legal Group’s server. A true and correct
7            copy of the PDF file that I observed at that URL is attached as Exhibit 8 to
8            the Reply In Support of Motion to Compel Arbitration filed herewith.
9       10. On February 2, 2016 at approximately 4:09 PM Pacific Time, at the offices
10           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
11           89147,   I   navigated   to    the    Uniform     Resource   Locator   (“URL”)
12           <https://www.adr.org/aaa/faces/s/contact/us?state=NV&name=Nevada
13           &_afrLoop=69383781686768&_afrWindowMode=0&_afrWindowId=kv69ifzj
14           w_248#%40%3F_afrWindowId%3Dkv69ifzjw_248%26_afrLoop%3D693837816
15           86768%26state%3DNV%26name%3DNevada%26_afrWindowMode%3D0%2
16           6_adf.ctrl-state%3Dkv69ifzjw_292> on the Internet using the web browser
17           Google Chrome on an Apple MacBook Air laptop running OS X El Capitan
18           operating system. At that URL, I observed a webpage entitled “Contact
19           Us.” Immediately upon observing the webpage at that URL, I saved a PDF
20           duplicate of the webpage to the hard drive of my computer and to
21           Randazza Legal Group’s server. A true and correct copy of the webpage
22           that I observed at that URL is attached as Exhibit 9 to the Reply In Support
23           of Motion to Compel Arbitration filed herewith.
24      11. On February 2, 2016 at approximately 4:10 PM Pacific Time, at the offices
25           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
26           89147,   I   navigated   to    the    Uniform     Resource   Locator   (“URL”)
27           <https://www.citizen.org/documents/ACF110A.PDF> on the Internet using
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                                   Declaration of Trey A. Rothell
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1            the web browser Google Chrome on an Apple MacBook Air laptop
2            running OS X El Capitan operating system. At that URL, I observed a PDF
3            document entitled “The Costs of Arbitration.”                Immediately upon
4            observing the PDF file at that URL, I saved a copy of the document to the
5            hard drive of my computer and to Randazza Legal Group’s server. A true
6            and correct copy of the PDF file that I observed at that URL is attached as
7            Exhibit 10 to the Reply In Support of Motion to Compel Arbitration filed
8            herewith.
9       12. On February 2, 2016 at approximately 4:11 PM Pacific Time, at the offices
10           of Randazza Legal Group, PLLC, 4035 S. El Capitan Way, Las Vegas, NV
11           89147,   I   navigated   to    the    Uniform     Resource     Locator   (“URL”)
12           <https://www.citizen.org/documents/ACF110A.PDF> on the Internet using
13           the web browser Google Chrome on an Apple MacBook Air laptop
14           running OS X El Capitan operating system. At that URL, I observed a PDF
15           document entitled “ADR Services, Inc. Nevada Mediation & Arbitration
16           Panel.” Immediately upon observing the PDF file at that URL, I saved a
17           copy of the document to the hard drive of my computer and to
18           Randazza Legal Group’s server. A true and correct copy of the PDF file
19           that I observed at that URL is attached as Exhibit 11 to the Reply In
20           Support of Motion to Compel Arbitration filed herewith.
21        I declare under penalty of perjury under the laws of the State of Nevada that
22     the foregoing is true and correct. Executed on February 2, 2016, in Las Vegas,
23     Nevada.
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25
26
                                                                Trey A. Rothell
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                                   Declaration of Trey A. Rothell
                                     2:15-cv-01673-JCM-GWF
